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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

VS.                            CASE NO. 4:17-cr-00293-BSM

MARCUS O. MILLSAP, ET AL                                                          DEFENDANTS


           DEFENDANT’S SIXTH MOTION FOR EXTENSION OF TIME
       TO FILE OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT


       COMES NOW the Defendant, Marcus O. Millsap, by and through the undersigned counsel

and for his Sixth Motion for an Extension of Time to File Objections to the Presentence

Investigation Report states:

       1.      Counsel for the Defendant received the first draft of the Presentence Investigation

Report (PSR) in this case on November 22, 2021. The Court previously entered an Order extending

the time for Defendant to file his objections to the PSR to February 7, 2022.

       2.      Defendant is currently held at the Pulaski County Regional Detention Facility and

the undersigned counsel resides in Monticello, Arkansas. Due to the dangerous road conditions

created by last week’s inclement weather, the undersigned counsel was unable to safely travel to

Little Rock to meet with Defendant.

       3.      The undersigned counsel has a one-day bench trial scheduled for February 14,

2022, in Bradley County Circuit Court. The time required to prepare for said trial may inhibit
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counsel’s ability to confer with the Defendant regarding his objections to the PSR prior to said

trial.

         4.     The undersigned counsel requests additional time to meet with the Defendant, to

determine if there are any valid objections to the PSR, and to submit them to the USPO and USAO.

         5.     Defendant’s Counsel requests an extension of time to submit objections to the PSR

until February 21, 2022.

         6.     This motion is not submitted for any improper purpose or to cause unneeded delay.

         WHEREFORE, the Defendant asks that this Court allow counsel until February 21, 2022,

to submit objections to the PSR and for all other just and proper relief to which he may be entitled.

DATED: February 7, 2022.

                                                      RESPECTFULLY SUBMITTED,

                                                      GIBSON & KEITH, PLLC
                                                      Attorneys for Defendant
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                                              By: _____________________________________
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